                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA

        v.
                                                    Case No. 19-cr-00669
 GREGG SMITH,
 MICHAEL NOWAK, and                                 Hon. Edmond E. Chang
 JEFFREY RUFFO

                       Defendants.



  MESSRS. NOWAK AND RUFFO’S JOINT MOTION TO EXCLUDE IN WHOLE OR
 IN PART THE GOVERNMENT’S PROPOSED COMPLIANCE-RELATED EXHIBITS

       Per the Court’s direction at the pretrial conference on June 2, 2022, see Pretrial Conf. Tr.,

ECF No. 533, at 108–09, Defendants Michael Nowak and Jeffrey Ruffo jointly move to exclude,

in whole or in part, proposed government exhibits (“GX”) 131–43, 146–56, and 158–72 (the

“Compliance-Related Exhibits”), which consist of various JPMorgan policy manuals, training

materials, compliance bulletins, and other such documents, each relating to one or more JPMorgan

business units.

       Messrs. Nowak and Ruffo maintain that the Compliance-Related Exhibits should be

excluded because they are largely irrelevant, may cause significant juror confusion, and pose a

substantial risk of unfair prejudice to Defendants, as argued at the June 2 conference, see ECF No.

533, at 104–09.

       But in the alternative, as described below and highlighted in Appendix A hereto, we

respectfully submit that the Court should exclude portions of the Compliance-Related Exhibits that

contain (i) inaccurate, misleading, or confusing statements of law applicable or ostensibly

applicable to the charges in this case, (ii) certain unfairly prejudicial statements interpreting,


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opining on, or providing examples of offenses charged here, and (iii) inflammatory and unfairly

prejudicial statements concerning other enforcement actions, including actions involving charges

similar to those in this case, which variously are irrelevant, pose a substantial risk of unfair

prejudice to Defendants, and may cause significant juror confusion.


                                                I. DISCUSSION

          The government’s proposed Compliance-Related Exhibits include various policies and

trainings that purport to instruct employees on avoidance of, among other things, “fraud,”

“manipulation,” and “spoofing,” but which contain inaccurate, misleading, or confusing

statements regarding legal standards in the context of the law that the jury will be instructed to

apply in this case. In particular, as highlighted in Appendix A,1 the Compliance-Related Exhibits

variously:

      1. Suggest that the government need prove only “recklessness” to establish fraud,
         manipulation, or spoofing, see App. A at 21, 25, 30, 35, 40, 56, 81 (GX 136–40, 146,
         162, for fraud), 56, 81, 92, (GX 146, 162, 166, for manipulation), and 60, 81, 124 (GX
         148, 162, 171, for spoofing), when the government here must prove that Defendants
         acted “knowingly,” see Proposed Jury Instructions, ECF No. 514-1, at 60, 72, 92, 110;

      2. Define “material facts” as those that are merely “relevant to a trading or business
         decision,” App. A at 21, 25, 29, 34, 40, 45 (GX 136–41), which is inconsistent with the
         appropriate materiality standard of having “a natural tendency to influence the decision
         of reasonable persons,” ECF No. 514-1, at 85–86;

      3. Incorrectly state that “manipulation” or “manipulative” conduct does not require any
         particular intent, see App. A at 45, 52, 54, 56, 77, 81, 102 (GX 141–143, 146, 158, 162,
         168), or fail to state that manipulation requires specific intent to create an artificial
         price, see e.g., App. A at 21–22, 25–26, 29–30, 34–35, 39–40, 45–47, 52, 54, 58, 68,
         70, 74, 76–77, 81, 83, 91–96, 102–03 (GX 136–43, 147, 152, 154, 156, 158, 162–63,
         166, 168);

      4. Define “artificial price” as “a price not determined by supply and demand,” App. A at
         52, 54 (GX 142–43), when the appropriate definition in the context of this case is a

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    Appendix A includes proposed redactions to GX 165 and 171, which are transcripts of audio recordings of
    compliance trainings that the government has offered as GX 164 and 170. We submit that the portions of the audio
    recordings corresponding to the redacted portions of the transcripts in Appendix A likewise should be excluded.



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          price that “the defendant understood to not reflect the forces of supply and demand,”
          ECF No. 514-1, at 64;

      5. Define “spoofing”—which is placing a bid or offer with the unconditional intent, at the
         time of placement, to cancel the bid or offer before execution, see ECF No. 514-1, at
         113—in multiple incorrect and inconsistent ways, including, for instance, “submitting
         bids or offers which are not intended to be filled,” App. A at 124 (GX 171), placing
         bids or offers but “not intending to trade,” App. A at 85 (GX 165), “bidding or offering
         with the intent to cancel before execution to give false intent to buy/sell,” App. A at 95
         (GX 166), and “entry of bids or offers . . . without the intent to execute the trade or in
         order to achieve any of the following: . . . move the price of a product or a related
         product (e.g. barrier option),” App. A at 48 (GX 141);2 see also App. A at 60, 62, 65,
         103 (GX 148–50, 168);

      6. Address fraud by omission, see App. A at 21, 25, 29, 34, 39–40, 44–45 (GX 136–41),
         which is not alleged in the indictment in this case, and which may confuse the jury as
         to whether any purported omissions can be a basis for fraud here;

      7. Classify spoofing as “manipulation” or characterize it as “manipulative,” see App. A.
         at 48, 62, 65, 67–68, 95, 103 (GX 141, 149–50, 152, 166, 168), which poses a
         substantial risk of confusing the issues and conflating spoofing and attempted price
         manipulation;

      8. Vaguely address inapplicable legal standards from “some” or “many jurisdictions,” see,
         e.g., App. A at 52, 54 (GX 142–43; “proof of intent is not a necessary element . . . in
         many jurisdictions”), and 92 (GX 166; stating, under the heading
         “Manipulation/Market Abuse: Legal Standards,” that “in some jurisdictions, regulators
         contend that materiality does not matter”), which poses a substantial risk of juror
         confusion; and

      9. Misstate the second element of attempted manipulation as an “overt act” or an act “to
         further that intent,” App. A at 3, 5, 9, 14, 17 (GX 131–35), in place of the required
         “substantial step,” see ECF No. 514-1, at 60, and fail to indicate that the act must be
         done knowingly, see id.3


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    Additionally, GX 141 problematically equates “spoofing” with “layering,” and states that “[p]artial or complete fills
    of an order are not necessarily sufficient proof that spoofing or layering did not occur,” when of course it is the
    government’s burden to prove spoofing, not Defendants’ burden to prove that “spoofing or layering did not occur.”
    App. A at 48.
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    We respectfully submit that GX 131–35 would more appropriately be excluded in their entirety. These five exhibits,
    which are versions of a JPMorgan Energy Compliance Manual (collectively, 384 pages), are almost entirely devoted
    to policies and regulations applicable solely to the energy markets—for instance, obligations imposed by the Federal
    Energy Regulatory Commission and the Electric Reliability Council of Texas—which are irrelevant to the precious-
    metals trading that is the subject of this case and to the precious-metals trading desk on which Defendants worked.
    Each of the five exhibits contains less than three pages of theoretically relevant but cumulative content relating to
    the Commodity Futures Trading Commission (“CFTC”). We further submit that the Court should fully exclude GX
    168, a 62-page “Market Abuse and Information Barriers Training” for the EMEA region, because it relates solely
                                                                                                                 (cont’d)


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       Moreover, the Compliance-Related Exhibits include statements of opinion or interpretation

regarding the law, which may confuse and bias the jury, posing a substantial risk of unfair prejudice

to Defendants. In particular, as highlighted in Appendix A, the Compliance-Related Exhibits

variously:

   1. Provide unfairly prejudicial opinions on the priorities and motivations of regulators,
      see, e.g., App. A at 74, 76 (GX 156, 158; “regulators consider [trading to affect
      settlement] very seriously,” and a “pattern of [placing non-economic trades] will be
      flagged by regulators for review”), and 92 (GX 166; investigations are being “based on
      not just complying with the letter of the law, but also the spirit of the law”);

   2. Opine on factors that may be indicative of spoofing, see, e.g., App. A at 48, 67 (GX
      141, 152), and on types of conduct that regulators may consider manipulative, see, e.g.,
      App. A at 21 (GX 136; “[a]ctivities that create a false or misleading appearance with
      respect to volume, depth (liquidity), activity or the price of a Covered Product or
      otherwise to induce market activity by others are likely to be considered
      manipulative.”);

   3. Make speculative or conclusive statements regarding the law that are not supported by
      evidence and may confuse the jury, see, e.g., App. A at 81 (GX 162; claiming that
      activities prohibited by the CFTC are the “same as long-standing JPM requirements
      prohibiting fraud and market manipulation (e.g., prohibitions on trades with no
      economic rationale, making misleading statements or omissions)”), and 91 (GX 166;
      manipulation is “broadly defined and takes on many forms”); and

   4. Provide examples of conduct or lists of scenarios that purportedly constitute
      manipulation, see e.g., App. A at 5–6, 9–10, 13–15, 17–18, 21–22, 25–26, 29–30, 34–
      35, 39–40, 45–47, 81, 92–96, 103–09 (GX 132–41, 162, 166, 168), or spoofing, see
      App. A at 62, 67–68 (GX 149, 152), posing a substantial risk of confusing the jury by
      presenting certain conduct as per se criminal.

       Finally, the Compliance-Related Exhibits include inflammatory references to enforcement

actions involving spoofing, fraud, and other offenses, see App. A at 62, 65, 67–68, 85, 95, 118,

122 (GX 149–50, 152, 165–66, 169, and 171, for spoofing), and 85, 89–90, 94, 96–99, 118, 121–



 to irrelevant and confusing EMEA market-abuse regulations and provides standards for “manipulation” and
 “spoofing” that materially differ from those that the jury will be instructed to apply in this case. See, e.g., App. A
 at 102 (“[T]here need not be an intention to engage in market abuse for an offence to occur. If the effect of your
 behavior is abusive, then it will amount to market abuse.”). And without these irrelevant, confusing, and unfairly
 prejudicial materials, the remaining Compliance-Related Exhibits would still amount to more than 380 pages of
 policies, trainings, and related documents.



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23 (GX 165–66, 169, 171, for fraud and other offenses), which risk biasing the jury and tarring

Defendants with the same brush. We submit that these statements should all be redacted and

excluded, as highlighted in Appendix A.


                                     II. CONCLUSION

       For the foregoing reasons, Messrs. Nowak and Ruffo respectfully submit that the Court

should exclude the portions of the Compliance-Related Exhibits indicated in Appendix A.



Dated: June 10, 2022

                                           Respectfully submitted,


 /s/ Guy Petrillo                            /s/ David Meister
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